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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE; CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

This Documents Relates To:

ALL ACTIONS

I

Master File No. 3:07-cv-05944-SC
MDL No. 1917

DECLARATION OF EMILIO E.
VARANINI IN SUPPORT OF THE
ADMINISTRATIVE MOTION FOR
ORDER PERMITTING THE
DEPOSITION OF LEO MINK TO BE
COMPLETED BY JANUARY 30, 2015

VARANINI DECL. ISO ADMIN MOTION FOR ORDER RE TIMING OF LEO MINK’S DEPOSITION

(Master File No. CV-07-5944-SC)

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I, EMILIO E. VARANINI, declare as follows:

l. I am a Deputy Attorney General with the California Attorney General’s Office and
am lead counsel for the California Attorney General in the state court case of State of California
et. al. v. Samsung SDI, Co., Ltd., Case No. 11-51584 (California Superior Court, San Francisco).
This case has been coordinated with this Court’s MDL No. 1917 for purposes of fact and expert
discovery as well as mediation and settlement. I am admitted to this Court and could, if called as
a witness, testify competently to the matters set forth herein. I make this declaration under
penalty of perjury under the laws of the United States and the State of California.

Z Besides this case, I have led other international price-fixing and unfair competition
cases involving the State of California. I also have an extensive background on international
antitrust and related issues involving the European Union and China.

A. The instant administrative motion arises from two administrative motions
previously granted by this Court for the issuance of two formal requests for international judicial
assistance from the Netherlands in obtaining Mr. Leo Mink’s oral testimony pursuant to the
Hague Convention on the Taking of Evidence in Civil and Commercial Matters (“Hague
Evidence Convention”). Mr. Mink is an ex-employee of the Philips defendants in this action,
Koninklijke Philips N.V. (“KPNV”) and Philips Electronics North America Corporation. He is a
Dutch national residing in the Netherlands. The Philips defendants do not object to this request
for an order permitting Plaintiffs to complete Mr. Mink’s deposition pursuant to the Hague
Evidence Convention by January 30, 2015 and deeming any testimony obtained through any such
examination as timely.

4, This Court issued the first Request for International Judicial Assistance on January
31, 2014, which the Attorney General’s Office promptly transmitted to the relevant authorities in
the Netherlands. See Docket Nos. 2327, 2328, 2361, and 2362. But in late March 2014, the
Attorney General’s Office was informed by the Netherlands’ Central Authority that a second
request was needed due to the misfiling of the first request. See Docket Nos. 2518 and 2519.
This Court issued the second Request on April 11, 2014 (Docket Nos. 2530 and 2531), which the

Attorney General’s Office also promptly transmitted to the relevant authorities in the Netherlands.
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5. In late May 2014, I received a confidential correspondence from the Court of
Oost-Brabant notifying the Attorney General that it will provide the international judicial
assistance twice requested by this Court. The Court of Oost-Brabant also notified the Attorney
General’s Office about the individual appointed as Commissioner to oversee the requested
process, as required by the Hague Evidence Convention. | later received information that shortly
after the appointment was made, the appointed Commissioner submitted a request for withdrawal
due to a conflict of interest in that she is a partner at the Dutch law firm De Brauw, Blackstone,
Westbroek N.V., which represents KPNV in Europe.

6. The Attorney General Office understands that the Court of Oost-Brabant has not
yet issued a ruling on this withdrawal request or appointed a new Commissioner. The Attorney
General’s Office has contacted the Court of Oost-Brabant several times concerning the pending
withdrawal request and the need for a new Commissioner in order to commence the requested
process. The Attorney General’s Office also has arranged for its agent in the Netherlands to
follow up on this request. I have been informed that our Dutch agent is currently on holiday and
is scheduled to return on September 12, 2014 and will obtain a further status report thereafter.

7. The Attorney General’s Office also has been in communication with Mr. Mink’s
counsel concerning the execution of this Court’s formal request for international judicial
assistance and the Court of Oost-Brabant’s willingness to assist. The Attorney General’s Office
understands that the parties have reached an understanding concerning the necessary next steps,
one of which is the appointment of a new Dutch Commissioner.

8. The Attorney General has good reasons to believe that the actual examination will
occur by January 30, 2015.

9. The Attorney General’s Office submits that Mr. Mink’s examination would not be
disruptive to the state or federal schedules in this case nor otherwise work an injustice as to the
parties in preparing for dispositive motions or for trial. The proposed deadline of January 30,
2015 not only affords the Dutch authorities the time necessary to effectuate this Court’s formal

requests but also ensures that the requested examination will be completed before the pre-trial
3

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conference in the federal matter. In the meantime, the Attorney General submits that no motion
or other event need be stayed pending Mr. Mink’s examination.

I declare under penalty of perjury under the laws of the United States and of the State of
California that the foregoing is true and correct and that this declaration was executed on

September 2, 2014 in San Francisco, California.

By: /s/ Emilio E. Varanini
EMILIO E. VARANINI

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